
PER CURIAM.
This cause having been orally argued before the court, the briefs and record on appeal having been read and given full consideration, and appellant having failed to demonstrate reversible error, the judgment of the lower court hereby appealed is affirmed. See Myers v. Metropolitan Life Ins. Co., 152 Pa.Super. 507, 33 A.2d 253 (1943); Liberty National Life Ins. Co. v. Parrimore, 68 Ga.App. 623, 23 S.E.2d 541 (1942); 45 C.J.S. Insurance § 893, p. 971.
STURGIS, C. J., WIGGINTON, J., and MURPHREE, JOHN A. H., Associate Judge, concur.
